           Case 2:20-cv-01861-GMN-BNW Document 31 Filed 11/17/20 Page 1 of 3




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14                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
15
     M.S., a minor individual, by Guardian          Case Number:
16   VALERIE SANDERS,                               2:20-cv-01861-GMN-BNW
17                Plaintiffs,

18
     Vs.                                            STIPULATION AND ORDER OF
19                                                  DISMISSAL FOR ZF TRW
20   HYUNDAI MOTOR AMERICA, a California            AUTOMOTIVE HOLDINGS
     business entity; HYUNDAI MOTOR                 CORP.
21   COMPANY, a Korean corporation; TAKATA
     CORPORATION a Japanese corporation; ZF
22
     TRW AUTOMOTIVE HOLDINGS CORP., a
23   Delaware Corporation; ZF
     FRIEDRICHSHAFEN AG, a German
24   Corporation; ROE AIRBAG
25   MANUFACTURING COMPANY; DOE
     INDIVIDUALS I through XXX and ROE
26   CORPORATIONS XXXI through LX,
                   Defendants.
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                                             1
           Case 2:20-cv-01861-GMN-BNW Document 31 Filed 11/17/20 Page 2 of 3




 1          Plaintiff M.S., a minor individual, by Guardian VALERIE SANDERS (“Plaintiff”),

 2 by and through her counsel KEMP JONES LLP and Defendant ZF TRW AUTOMOTIVE
 3
     HOLDINGS CORP. (“ZF TRW AH”), by and through its counsel of record, WEINSTEIN
 4
     TIPPETTS & LITTLE LLP and OLSON, CANNON, GORMLEY & STOBERSKI, hereby
 5
 6 stipulate and agree as follows:
 7          1.     Plaintiff and Guardian Valerie Sanders, for minor individual M.S., no longer
 8
     wishes to pursue her claims against ZF TRW AH because ZF TRW AH has provided
 9
     Plaintiff with a declaration confirming no corporate entity within the ZF group of
10
11 companies designed, manufactured, or marketed the original equipment seat belt assembly
12 or any component of the original equipment seat belt assembly for 2012 Hyundai Elantra
13
   vehicles sold in the United States, including the webbing, buckle, retractor, latch plate, or
14
   pretensioners within the assembly. ZF TRW AH’s declaration also confirms no corporate
15
16 entity within the ZF group of companies designed, manufactured, or marketed the original
17 equipment airbag system or any component of the original equipment airbag system for
18
     2012 Hyundai Elantra vehicles sold in the United States, including the airbag control unit,
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     front and side crash sensors, or airbag modules within the system
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21          2.     ZF TRW AH should be dismissed without prejudice.
22 / / /
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         Case 2:20-cv-01861-GMN-BNW Document 31 Filed 11/17/20 Page 3 of 3




 1         3.     Plaintiffs and ZF TRW AH shall bear their own attorneys’ fees, costs, and

 2 expenses in connection with this stipulation and/or the dismissal of ZF TRW AH.
 3
                                                   WEINSTEIN TIPPETTS & LITTLE
     KEMP JONES, LLP
 4                                                 LLP
 5                                                 By:___/s/ Thad K. Jenks_____
     By: _/s/ J. Randall Jones__
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20
     America
21
22                IT IS SO ORDERED.

23
                                                   ________________________________
24                                                 U.S. DISTRICT COURT JUDGE
25
26                                                 DATED: _______________________
27                                                 CASE NO. 2:20-cv-01861
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                                               3
